                                      EXHIBIT A

 Defendant(s)                                                  Adv. Proc. Case No.

 Mary Ellen Nuhn                                                    19-50829
 Kirk W. Chubka                                                     19-50826
 Phillip Ball a/k/a Larry Ball                                      19-50913
 Gregg W. Butler                                                    19-50958
 Harold Plain                                                       19-50974
 Joseph Loox                                                        19-50978
 Richard Anthony Miller                                             19-51008
 Deb Brundage                                                       19-51069
 Provident Trust Group, Custodian For The Benefit Of                19-51050
 Christopher M. Soulier Roth Ira; Christopher M. Soulier
 Jay N. Brown                                                       19-51047
 Bette Tydings                                                      19-51002
 Provident Trust Group, Custodian For The Benefit Of Deborah        19-50583
 J. Murphy Ira; Deborah J. Murphy




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